    Case 3:17-cv-02641-AET Document 16 Filed 09/01/17 Page 1 of 2 PageID: 280



                   IN THE UNITED STATES DISTRICT COURT        REcE1v
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                      FOR THE D[STRICT OF NEW JERSEY                                   Eo
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                                                                    .SEP O' 1 2011 ·
                                                               AT 8:3 0
    C. TATE GEORGE,                                   .   .       .WIL~M
                                                     Cl Vll Action CLE:R~ALSH
                 Petitioner,                      No. 17-2641 (AET)

            v.
                                                          ORDER
    UNITED STATES OF AMERICA.

                 Respondents.



THOMPSON, District Judge:

       This matter comes befGre the Court on Petitioner C. Tate

George's (hereinafter, npejitioner") amended 28 U.S.C.              §     2255

motion (Docket Entry 7); 1 Jhe Court having reviewed the amended

motion under the Rules Govtrning § 2255 Proceedings; and fOr



                         {)$1,
good cause shown,               I

       IT is on this
                               ~     day of
                                              tl~~ ~Al /1y
                                              ~,              2017;

       ORDERED that the Resplndent shall file an Answer which

responds to the allegations of the amended motion (Docket Entry

7) by each paragraph and slbparagraph within sixty (60) days of

the entry of this Order;       ald   it is further

       ORDERED that that the Answer shall be accompanied by

certified copies of all indictments and/or charges, transcripts,




1This matter was transfer~ed from the Honorable Mary L. Cooper,
U.S.D.J. to the undersigned on July 24, 2017.
  Case 3:17-cv-02641-AET Document 16 Filed 09/01/17 Page 2 of 2 PageID: 281



trial briefs, appendices, ,pinions, and any and all related

documents in the proceedings; and it is further

     ORDERED that Petitiondr may submit a response to the Answer

within 30 days of receivinJ the Answer; and it is further

     ORDERED that, in lieu of an Answer, the Respondent may file

and serve an appropriate motion addressing the         §   2255 motion;

and it is finally

     ORDERED that the Clerk of the Court shall send a copy of

this Order to Petitioner bJ regular mail.




                                         ANNE
                                         U.S. District Judge




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